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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 15-cv-00302-PAB-MJW

  YSIDRO LONGORIA,

  Plaintiff(s),

  v.

  CORRECTIONS CORPORATION OF AMERICA,
  CORRECTIONS OFFICER (C.O.) DENNIS KASTELIC, in his individual capacity and as
  an employee of CCA,
  C.O. GLENDA LUCERO, in her individual capacity and as an employee of CCA,
  C.O. LINDA BRADFORD, in her individual capacity and as an employee of CCA,
  C.O. BRANDON FLOREZ, in his individual capacity and as an employee of CCA,
  C.O. ANTHONY ROMERO, in his individual capacity and as an employee of CCA,
  C.O. ROSEANN JARAMILLO, in her individual capacity and as an employee of CCA
  C.O. TIFFANY MAREZ, in her individual capacity and as an employee of CCA,
  C.O. DAVID LAMBERT, in his individual capacity and as an employee of CCA,
  C.O. STEVE MEDINA, in his individual capacity and as an employee of CCA, and
  C.O. CHIEF JOHN DOE 1, in his individual capacity and as an employee of CCA,

  Defendant(s).
                                   MINUTE ORDER

  Entered by Magistrate Judge Michael J. Watanabe

         It is hereby ORDERED that the Joint Stipulated Motion for Protective Order
  (docket no. 16) is GRANTED finding good cause shown. The written Protective Order
  (docket no. 16-1) is APPROVED as amended in paragraph 16 and made an Order of
  Court.

  Date: April 1, 2015
